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                SUPREME                  COURT             OF THE                 STATE            OF NEW              YORK
                COUNTY                OF NEW               YORK
                --------------------------------------------------------------------X                                                                               Index          No.:                                         /20
                ANTHONY                   RAPP           and     C.D.,                                                                                              Date          Filed:                                    /20



                                                                                              Plaintiffs,                                                           SUMMONS
                                                               -against-

                                                                                                                                                                    Plaintiffs                designates           New
                                                                                                                                                                    York          County              as the      place         of

                                                                                                                                                                    trial.
                KEVIN            SPACEY              FOWLER                  a/k/a        KEVIN               SPACEY,
                                                                                                                                                                    Basis          of    Venue:            CPLR        503(a)

                                                                                                                                                                    County              in which            a substantial

                                                                                              Defendant.                                                            part     of      the       acts     or omissions

                                                                                                                                                                    giving          rise        to claim          occurred.
               _____-..                       __________________-______________________________....-X
               TO       THE        ABOVE             NAMED                 DEFENDANT:


                                YOU        ARE          HEREBY               SUMMONED                          to answer              the       complaint               in this              action       and     to serve            a

                copy       of    your      answer,          or, if the            complaint              is not       served          with          this   summons,                     to serve          a notice         of
                                                        plaintiffs'
                appearance,              on    the                           attorneys              within        20 days             after         the    service           of     this        summous,
                exclusive           of the        day     of    service           (or     within         30    days         after     the       service            is complete                  if this     summons                  is
               not     personally             delivered           to you           within          the    State       of     New          York);           and      in case             of     your     failure       to
               appear           or answer,           judgment              will         be taken         against           you       by    default           for     the     relief            demanded            in the
               complaint.


                Dated:          New       York,         New       York
                                September               8, 2020


                                                                                              Yours           etc.,
                                                                                              GAIR,        CONASON,
                                                                                                               GAIR,   RUBINOWITZ,   BLOOM,
                                                                                              HERSHENHORN,     STEIGMAN     & MACKAUF
                                                                                              Attorne                 for     Plai           iffs




                                                                                              PÈTER             J. SA
                                                                                                                                    4th
                                                                                              80     Pine       Street,                     FlOOr
                                                                                              New         York,         New          York            10005

                                                                                              (212)           943-1090


               TO:


                KEVIN            SPACEY              FOWLER                  a/k/a        KEVIN               SPACEY
               622       Ponte       Villas        North        #1

               Baltimore,               Maryland           21230




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                SUPREME               COURT                OF THE          STATE             OF NEW                YORK
                COUNTY               OF NEW                YORK
                __________                                                     -----------------X


                ANTHONY                   RAPP        and      C.D.,
                                                                                                                                     Index     No.

                                                                          Plaintiffs,


                                             -against-                                                                               VERIFIED            COMPLAINT


                KEVIN           SPACEY              FOWLER                a/k/a        KEVIN           SPACEY,




                                                                          Defendant.
                                                     ---------·--------------X



                                             Plaintiffs,         complaining                 of     defendant,          by    and    through     their       attorneys,         GAIR,


                GAIR,       CONASON,                     RUBlNOWITZ,                        BLOOM,                HERSHENHORN,                   STEIGMAN                   & MACKAUF,


                respectfully              show      to this     Court          and     allege         as follows:


                                                                AS       AND           FOR        A FIRST           CAUSE            OF ACTION
                                                              ON BEHALF                     OF ANTHONY                       RAPP      - ASSAULT



                               1.            Upon          information             and      belief,        that    at all    times    herein    mentioned,             defendant,


                KEVIN           SPACEY              FOWLER,                has       also    been          known      as KEVIN           SPACEY              (hereinafter        "KEVIN


                SPACEY").


                               2.            Upon          information             and      belief,        that    at all    times    herein    mentioned,             defendant,


                KEVIN           SPACEY,              was      an actor           and      acting       teacher.


                           3.                That      at all     times          herein      mentioned,              plaintiff,      ANTHONY                 RAPP,        was


                under     the       age     of    18 years.


                          4.                 In   approximately                   1986,       plaintiff,           ANTHONY             RAPP,         while      performing          on



                Broadway             in Precious             Sons,       met       defendant,              KEVIN         SPACEY.




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                               5.                 Thereafter,                   in approximately                                1986,       defendant,                 KEVIN              SPACEY,                   was     having            a



               party         at his        home         on        the        east      side       of     Manhattan                   and         invited          plaintiff,           ANTHONY                        RAPP,            age        14,


               to the        party.


                               6.                 Plaintiff,                 ANTHONY                      RAPP,                 attended             the       party       at defendant's                   home.



                               7,                 While             plaintiff             was       at the          home            of defendant,                      KEVIN           SPACEY,                      defendant



                intentionally                   and     voluntarily                    and       without             plaintiff's                 consent             engaged           in an unwanted                       sexual


                advãñce             with        a 14 year                old        and        grabbed              then         infant          plaintiff,            ANTHONY                     RAPP's,              buttocks,


                lifted       him         onto      a bed            and        laid       on     plaintiff's               body.


                               8.                 Prior        to touching                      plaintiff's            body             and        buttocks,            defeñdañt,                 KEVIN              SPACEY,


               through             his     words            and       acts,           intentionally                  caused             the       plaintiff,           ANTHONY                      RAPP,             to become


                apprehensive                    that      a harmful                   and/or           offensive                 bodily           contact            was       about      to occur.


                               9.                 As        a result            of the          forgoing              conduct,                  plaintiff         was       forced         to extricate                himself           and,



                fearing         for       his    safety,            ran        into       the      bathroom                 of defendant's                       apartment.


                                10.               After           spending                  a few        minutes                 in the         bathroom,               plaintiff          left     and       went         for     the       door



                of     the    apartment                when             defendant,                 KEVIN               SPACEY,                      tried       to persuade               plaintiff            to stay           but


                plaintiff           refused            and        quickly              left     the      defendant's                    apartment.


                                11.                                                                                                               ANTHONY                                         susta         ed psychological
                                                  By reason                    of     the      foregoing,              plaintiff,                                              RAPP,


                injuries,           including               but      not        limited            to,    severe                emotional               distress,           humiliation,                  fright,       anger,


                depression                and      anxiety;                  a severe           shock          to his            nervous              system;           and      has      been        caused            to suffer


                mental         anguish,                emotional                    and       psychological                      damage               as a result              thereof,           and,      upon          information


                and      belief,          some         or     all       of     these          injuries         are         of     a permañêñt                   and        lasting        nature;           and       plaintiff,


                ANTHONY                     RAPP,              has           been         forced         to abstaiñ                 from          the       duties         of his      vocation,              and       has      and/or


                will        become          obligated                 to expend                  sums          of     money               for      medical             expenses.




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                               12.             That        by      reason            of    the        foregoing,                defendant              is liable          to plaintiff               for     punitive            and



               exemplary              damages.


                               13.             That        the     amount                 of     damages                sought          exceeds            the jurisdictional                       limits        of   all     lower



               courts        that     would           otherwise                have            jurisdiction.


                               14.             It is hereby               alleged                pursuant             to CPLR                1603         that     the        foregoing             cause         of   action          is


               exempt          from          the     operation                of    CPLR               1601        by     reason            of one         or more             of    the      exemptions                provided


                in CPLR              1602,         including             but        not        limited         to CPLR                 1602(5)            (proof         of     intent)           and       1602(7)


               (recklessness).


                                                                   AS AND                      FOR        A SECOND                         CAUSE              OF ACTION
                                                                   ON BEHALF                           OF ANTHONY                             RAPP            - BATTER_Y



                               15.             Plaintiff           repeats,               reiterates,              and      realleges               each         and     every           allegation            contained             in


                                                                                                                    "1"                            "14"
               those        paragraphs               of    this     complaint                     marked                       through                        inclusive,             with         the      same        force        and


               effect        as if     fully        set    forth        at length                herein.


                               16.             Upon             information                    and       belief,        that        at all     times          herein          mentioned,                defendant,


                KEVIN           SPACEY,                   intentionally                   touched              plaintiff            ANTHONY                       RAPP's                 buttocks           and    body


               without          plaintiff's               consent             and     in doing               so caused                 plaintiff          to suffer            an offensive                  bodily          contact.


                               17.             In,     among             other        things,             touching               the       then      14 year            old     plaintiff's             buttocks,             the


                aforesaid            abuse         coñstituted                a sexual                offense           as defined                 in article          one      hundred             thirty        of    the     penal



                law,     committed                 against          such           person             who       was        less      than          eighteen            years        of     age,     or a predecessor


               statute        that     prohibited                 such        conduct                 at the       time        of    the     act,     which            conduct             was      committed                  against


               such         person       who         was         less     than        eighteen                years        of       age.


                               18.             By reason                 of    the        foregoing,                plaintiff,             ANTHONY                       RAPP,             sustained           psychological



                injuries,        including                but     not     limited               to,    severe           emotional                 distress,        humiliation,                   fright,         anger,


               depression              and         anxiety;         a severe               shock            to his        nervous             system;             and     has       been          caused          to suffer




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                mental        anguish,             emotional                 and      psychological                            damag               as a result             thereof,                 and,       upon        information


                and      belief,         some        or    all     of     these       injuries              are      of        a permanent                  and       lasting                 nature;          and      plaintiff,


                ANTHONY                    RAPP,            has         been        forced            to abstain                 from         the     duties         of        his        vocation,              and      has      and/or


                will     become            obligated               to expend                   sums        of      money              for     medical              expenses,


                               19.               That       by      reason           of    the        foregoing,                     defendant              is liable           to plaintiff                   for     punitive            and



                exemplary                damages.


                               20.               That       the      amount               of     damages                  sought            exceeds           the       jurisdictional                        limits       of     all    lower


                courts       that        would          otherwise                have          jurisdiction.


                               21.               It is hereby               alleged              pursuant                to CPLR               1603          that       the      foregoing                    cause       of    action               is


                exempt            from      the      operation                  of CPLR               1601          by         reason         of     one      or    more                 of   the      exemptions                 provided


                in CPLR              1602,        including                but      not        limited          to CPLR                  1602(5)             (proof            of         intent)        and          1602(7)


                (recklessness).


                                                                        AS AND                   FOR         A THIRD                     CAUSE                OF ACTION
                                                                                  ON BEHALF                              OF ANTHONY                             RAPP                 -

                                                     INTENTIONAL                                 INFLICTION                            OF EMOTIONAL                                      DISTRESS




                               22.               The       plaintiff             repeats,            reiterates,                and         realleges           each           and            every        allegation             contained


                                                                                                                               "1"                          "21"
                in those           paragraphs               of     this     complaint                  marked                          through                          inclusive,                    with       the     same           force


                and      effect       as if       fully      set        forth       at length              herein.


                               23.               Upon            information                   and       belief,           that       at all        times       herein               mentioned,                      defendant,


                KEVIN              SPACEY's                 conduct               toward             plaintiff,                ANTHONY                      RAPP,               who            was       a minor,            was         so



                shocking             and     outrageous                   that      it exceeded                    all     reasonable                 bounds              of     decency.


                               24.               Upon            information                   and       belief,           that       at all        times       herein               mentioned,                  defendant,


                KEVIN              SPACEY,                acted           recklessly               toward                the    then         minor          plaintiff               and        with          utter      disregard               of        the


                consequences                  that        might           follow.




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                              25.                By     reason             of     the        foregoing,             plaintiff,            ANTHONY                     RAPP,              sustained             psychological



                injuries,          including             but     not        limited                to,    severe        emotional                distress,         humiliation,                   fright,       anger,


               depression                and       anxiety;              a severe             shock          to his         nervous             system;         and      has       been       caused            to suffer



               mental         anguish,              emotional                   and      psychological                      damage              as a result           thereof,           and,       upon         information



               and       belief,         some         or all        of     these         injuries            are       of    a permanent               and        lasting          nature;          and       plaintiff,


               ANTHONY                     RAPP,           has           been         forced             to abstain           from         the     duties       of      his    vocation,              and      has         and/or


                will     become            obligated                to expend                     sums       of    money           for     medical            expenses.


                              26.                That      by       reason              of    the        foregoing,               defendant            is liable         to plaintiff               for      punitive           and



                exemplary                damages.


                              27.                That      the       amount                  of     damages             sought           exceeds          the     jurisdictional                   limits        of    all     lower


                courts       that        would          otherwise                 have            jurisdiction.


                              28.                It is hereby                   alleged             pursuant            to CPLR             1603        that      the     foregoing                cause        of     action         is


               exempt             from       the      operation                  of   CPLR                1601     by       reason         of    one      or more             of   the      exemptions                  provided


                in CPLR              1602,         including               but        not         limited         to CPLR             1602(5)           (proof          of     intent)        and           1602(7)


               (recklessness).


                                                                     AS AND                       FOR       A FOURTH                      CAUSE              OF ACTION
                                                                                       ON BEHALF                            OF C.D.             - ASSAULT



                              29.                The      plaintiff               repeats,               reiterates,          and        realleges           each       and        every        allegation              contained


                                                                                                                            "1"                        "28"
                in those           paragraphs              of       this        complaint                 marked                    through                       inclusive,               with       the      same          force


                and      effect       as if fully             set        forth        at length              herein.


                               30.               That      at all          times             herein         mentioned,               plaintiff,           C.D.,         was        a minor            under          the     age     of


                  18 years.




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                             31.                In       approximately                      1981,          plaintiff,            C.D.,        who         was        approximately                   12 years          old,      met



                 defendant,                 KEVIN            SPACEY,                    who        was          teaching           an acting              class         in Westchester                County,            New


                 York.          Plaintiff,            C.D.          at the        time       was       an acting                 student           in    the     class.


                             32.                Thereafter,                  when         plaintiff,              C.D.,          was      approximately                      14 years         old,     plaintiff


                 happcñed               to meet             defendant,               KEVIN                SPACEY,                  in New               York         City,     and     SPACEY                invited          the


                 then     minor             plaintiff,          C.D.,            to his      apartment.



                                33.             The         plaintiff,            C.D.,       went           to defendant                   KEVIN               SPACEY's                apartment              where


                 defendant              SPACEY                  engaged                 in sexual            acts       with       the      plaintiff,           C.D.,         while       the   plaintiff          was          14


                 years     old,         including,                 but     not      limited          to,      the       infant         plaintiff          perforûiing             anal      intercourse                on


                 defendant              SPACEY                  and        oral      sex.


                                34.             The         defendant,               KEVIN                 SPACEY,                 continued                to engage            in sexual            acts     on      different


                 occasions              with         the     plaintiff,             C.D.,       while            plaintiff          was       approximately                      14 years         old.


                             35.                 During             the     final        sexual         encounter,                 the      defendant,                 KEVIN           SPACEY,               for    the       first



                 time,     attempted                  to anally             sodomize                the      plaintiff,            C.D.,           who         was      then    a minor.             The      plaintiff,

                                                                         "No"
                 C.D.,       resisted            and        said                     multiple             times,          but     the      defendant,                 KEVIN            SPACEY,               continued                to


                 attempt          to anally                sodomize               the     infant          plaintiff            despite         the       plaintiff's           verbal       and       physical


                 resistance.


                             36.                 The        infant         plaintiff          was          able       to free          himself            from         defendant,           KEVIN             SPACEY,


                 and     fled         the    defendant's                   apartment.


                                37.              Prior        to     intentionally                 and          voluntarily               attempting                 to anally         sodomize              the    plaintiff,


                defendant,              KEVIN               SPACEY,                  through              his     words           and       acts,        intentionally               caused          the    plaintiff,           C.D.,


                to become              apprehensive                       that      a harmful              and/or            offensive             bodily            contact         was    about          to occur.




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                               38.               By        reason           of the            foregoing,                plaintiff,            C.D.,         sustained               psychological                     injuries,



                iñcInding            but     not        limited             to,        severe         emotional                 distress,            humiliation,                   fright,          anger,         depression             and



               anxiety;           a severe            shock           to his            nervous               system;             certain           internal            injuries;         and         has     been       caused            to


               suffer       mental           anguish,                emotional                     and       psychological                    damage              as a result             thereof,            and,      upon


                information                and       belief,          some              or all        of     these       injuries            are      of    a permanent                   and         lasting         nature;         and



               plaintiff,           C.D.,         has       been        forced             to       abstain            from          the    duties         of     his     vocation,             and         has     and/or         will



               become             obligated                to expend                   sums         of      money           for       medical           expenses.


                               39.               That        by      reason              of     the        foregaing,                defendant              is liable           to plaintiff                for     punitive          and



               exemplary                 damages.


                               40.               That        the       amount                 of     damages                sought           exceeds             the jurisdictional                        limits      of    all    lower


                courts       that        would          otherwise                  have            jurisdiction.


                               41.               It is hereby                 alleged                pursuant            to CPLR                1603            that     the     foregoing                 cause       of    action         is



                exempt            from       the      operation                   of    CPLR               1601        by      reason          of    one        or more             of    the       exemptions                 provided


                in CPLR              1602,         including                but         not        limited         to CPLR                  1602(5)             (proof         of     intent)          and        1602(7)


                (recklessness).


                                                                                         AS AND                   FOR          A      FIFTH            CAUSE                OF ACTION
                                                                                                         ON BEHALF                          OF C.D.              - BATTERY



                               42.               The        plaintiff              repeats,                reiterates,            and       realleges             each         and       every         allegation              contained


                                                                                                                               "1"                          "41"
                in those          paragraphs                 of      this         complaint                 marked                         through                        inclusive,                with      the    same          force


                and      effect       as if        fully       set      forth           at length              herein.


                               43.               Upon             information                      and       belief,          that     at all       times         herein            mentioned,                defendant,


                KEVIN             SPACEY,                   intentionally                      and         vnh=*arily                 engaged              in sexual             acts         and     attempted              to


                sodomize             plaintiff,             C.D.,           without                plaintiff's              consent,            while           plaintiff           was        approximately                      14 years



                old,     and       in doing             so caused                  plaintiff               to suffer           an offensive                 bodily             contact.




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                               44.             The         aforesaid              abuse          constituted             attempted               rape         and           a sexual          offense           as defined                in


                article       one      hundred             thirty       of the            penal         law,     committed                  against          such            person         who      was         less       than


                eighteen         years         of     age,        or a predecessor                       statute        that       prohibited                such           conduct          at the        time       of     the     act,


                which         coñduct          was         committed                  against            such      person          who         was         less     than           eighteen          years           of age.


                               45.             By      reason           of     the        foregoing,            plaintiff,             C.D.,         sustained                psychological                  injuries,



                 including             but     not        limited        to,      severe          emotional              distress,             humiliation,                    fright,        anger,        depression                and



                 anxiety;            a severe          shock           to his        nervous              system;            certain         internal             injuries;           and      has       been        caused          to


                 suffer       mental          anguish,              emotional                and        psychological                   damap                as a result              thereof,           and,        upon


                 information                 and     belief,           some          or all       of these           injuries          are      of    a permanent                     and      lasting          nature;            and



                 plaintiff,           C.D.,         has     been        forced            to abstain            from         the    duties           of     his     vocation,               and      has     and/or          will


                 become              obligated            to expend               sums           of    money           for     medical           expenses.


                               46.             That         by      reason           of    the        foregoing,             defendant               is liable              to plaintiff           for     punitive            and



                exemplary              damages.


                               47.             That         the     amount                of damages                 sought         exceeds               the jurisdictional                      limits        of    all    lower


                courts        that     would          otherwise                have         jurisdiction.


                               48.             It is hereby                  alleged          pursuant             to CPLR               1603         that        the       foregoing             cause         of    action         is


                exempt          from         the     operation               of   CPLR                1601      by     reason          of    one       or more                of    the     exemptions                 provided


                in CPLR              1602,         including            but       not       limited            to CPLR             1602(5)            (proof            of     intent)        and        1602(7)


                (recklessness).


                                                                                     AS AND                  FOR       A SIXTH                 CAUSE                OF ACTION
                                                                                                                ON BEHALF                       OF C.D.                 -

                                                                    INTENTIONAL                              INFLICTION                      OF EMOTIONAL                                   DISTRESS


                               49.             The         plaintiff           repeats,           reiterates,            and       realleges                each            and                 allegation              contaWd
                                                                                                                                                                                    every




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                                                                                                                                "1"                          "48"
                in those          paragraphs                 of        this        complaint                  marked                        through                       inclusive,             with       the        same         force


                and      effect          as if fully             set     forth            at length               herein.


                                 50.               Upon          information                         and      belief,          that      at all      times         herein            mentioned,             defendant,


                KEVIN             SPACEY's                   conduct                     toward             plaintiff,           C.D.,         who        was       a minor,              in engaging                  in sexual            acts


               with        and      in     attempting                  to sodomize                         the     then        minor         plaintiff,            was       so shocking                 and       outrageous                    that


                it exceeded                all     reasonable                  bounds                 of     decency.


                             51.                   Upon           information                        and      belief,          that      at all      times         herein            mentioned,                 defendant,


                KEVIN             SPACEY,                  acted              recklessly                   toward         the        then      minor         plaintiff           and       with         utter      disregard                of        the


                consequences                      that     might              follow.


                                 52.               By     reason              of     the        foregoing,                plaintiff,            C.D.,        sustained               psychological                     injuries,



                including              but       not     limited              to,        severe            emotional             distress,            humiliation,                   fright,      anger,          depression                 and



                anxiety;           a severe              shock           to his           nervous                system;             certain         internal            injuries;         and     has          been      caused             to


                suffer       mental              anguish,              emotional                     and      psychological                     damage             as a result             thereof,             and,      upon


                information                  and       belief,          some              or all        of       these      injuries           are     of    a permanent                   and     lasting             nature;         and



                plaintiff,          C.D.,          has      been          forced             to abstain                  from         the    duties         of     his     vocation,             and      has      and/or            will


                become            obligated               to expend                      sums         of     money             for     medical            expenses.


                                 53.               That      by         reason             of     the        foregoing,               defendant              is liable          to plaintiff              for      punitive            and



                exemplary                damages.


                                 54.               That      the         amount                 of     damages                 sought          exceeds            the jurisdictional                     limits         of    all     lower



                courts       that        would            otherwise                  have            jurisdiction.


                                 55.               It is hereby                    alleged             pursuant             to CPLR               1603           that     the    foregoing               cause          of    action             is


                exempt            from           the     operation                  of    CPLR               1601         by    reason          of    one        or more             of   the     exemptions                  provided




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                in CPLR          1602,        including        but     not      limited         to CPLR              1602(5)         (proof         of    intent)     and      1602(7)


                (recklessness).



                               WHEREFORE,                   the    plaintiffs           demand           judgment              against        the        defendant       in the     first,   second,


                third,    fourth,        fifth,     and    sixth     causes        of       action      for     cou,gonantory                 and        punitive      damages,          together



                with     the    interest,         costs,   and       disbursements                   pursuant         to the        causes         of     action     herein.


                Dated:         New    York,         NY
                               September            8, 2020
                                                                                        Yours          etc.,
                                                                                        GAIR,           GAIR,             CONASON,         RUBINOWITZ,   BLOOM,
                                                                                        HERSHENHORN,                               STEIGMAN     & MACKAUF
                                                                                        Attorneys              for    Plaintiffs




                                                                                        P     TER        J.      A           IR
                                                                                                                          34th
                                                                                        80     Pine      Stre         ,            Floor
                                                                                        New          York,       New        York           10005

                                                                                        (212)         943-1090




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                STATE        OF NEW               YORK                )
                                                                      )               ss.:

                COUNTY              OF NEW          YORK               )


                ANTHONY                  RAPP,     being       duly         sworn,      deposes          and      says:


                            I am one         of   the    plaintiffs          in the     within         action;         I have   read      the    foregoing       VERIFIED


                COMPLAINT                  and    know        the     contents         thereof;        that      the    same    is true     to my         own   knowledge,         except


                as to the        matters     therein       stated          to be alleged          on     information            and    belief,      and      as to those     matters,       I


                believe     them         to be true.




                                                                                                  ANTHO                          PP




                Sworn     to before          me this
                8th
                    day     of     September           2020




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